BP at a glance | About BP                                                Page 1 of 2
       Case 2:10-md-02179-CJB-DPC Document 4457-11 Filed 11/01/11 Page 1 of 3



                                                                                         Reports and publications | Contact us | BP worldwide | Home
                                                                                                          Search:                                 Go




   About BP     Products and services     Sustainability   Investors   Press   Careers     Gulf of Mexico restoration

  You are here: BP Global       About BP           BP at a glance




   BP at a glance                   BP at a glance

      Key facts and figures       BP is one of the world's leading international                                        History of BP
      Key business addresses      oil and gas companies, providing its                                                  From one man's
                                                                                                                        gamble to global
   Who we are                     customers with fuel for transportation,                                               energy company in
                                  energy for heat and light, retail services and                                        100 years
   What we do
                                  petrochemicals products for everyday items                                              Our history
   Where we operate

   How we run the business
                                  Facts and figures                                                                     Our brand family
                                                                                                                        A family of brands
   BP and London 2012              Sales and other operating revenues1           $297,107 million (year 2010)           that are recognized
                                                                                                                        and respected in
   BP and technology               Replacement cost profit 2                     ($4,519) million (year 2010)           markets worldwide

   The Energy Mix                  Number of employees                           79,700 (at 31 Dec 2010)                  Our brands
                                                                                 18,071 million barrels of oil
                                   Proved reserves3                              equivalent                             What we do
                                   Retail sites4                                 22,100                                 From oil discovery to
                                                                                                                        alternative energy,
                                   Upstream                                      Active in 29 countries                 find out what we do
                                   Refineries (wholly or partly owned)           16
                                                                                 2,426 thousand barrels per day           What we do
                                   Refining throughput
                                                                                 (year 2010)


                                  1 Sales and other operating revenues excludes customs duties and sales
                                  taxes.
                                  2 Replacement cost profit reflects the replacement cost of supplies and is
                                  arrived at by excluding from profit inventory holding gains and losses and their
                                  associated tax effect.
                                  3 Includes our interest in equity-accounted entities.
                                  4 Excludes our interest in equity-accounted entities.


                                  All data is as per the 2010 Annual Report and Form 20F unless otherwise
                                  noted.

                                        Annual Report and Form 20-F




                                  The core BP brands




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BP at a glance | About BP                                                Page 2 of 2
       Case 2:10-md-02179-CJB-DPC Document 4457-11 Filed 11/01/11 Page 2 of 3




                                                                                     back to top

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http://www.bp.com/sectiongenericarticle.do?categoryId=3&contentId=2006926        10/11/2011
BP Global - About BP - Who we are                                       Page 1 of 1
      Case 2:10-md-02179-CJB-DPC Document 4457-11 Filed 11/01/11 Page 3 of 3



                                                                                           Reports and publications | Contact us | BP worldwide | Home
                                                                                                             Search:                               Go




   About BP     Products and services     Sustainability   Investors   Press     Careers     Gulf of Mexico restoration

  You are here: BP Global       About BP           Who we are




  BP at a glance                    Who we are
   Who we are

      Group organization          BP has transformed:
      Our brands                  growing from a local oil
      Board and executive
                                  company into a global
      management                  energy group;
      Our history                 employing over 80,000
                                                                                                                          BP in 2010
  What we do                      people and operating                                                                    Brief overview of BP's 2010
                                  in over 80 countries                                                                    performance
  Where we operate
                                  worldwide                                                                                 BP in 2010 interactive review
  How we run the business

  BP and London 2012                In this section                                                                       Related links
  BP and technology
                                                                                                                            Code of conduct
                                        Group organization                      Board and executive
  The Energy Mix                                                                                                          Detailing our commitment to
                                  Structured for success: two key              management                                 meet legal and ethical standards
                                  business segments and an alternative         The board has a unique role in
                                  energy business                              representing and promoting the               The Helios Awards
                                        Upstream                               interests of shareholders                  Recognizes the achievements of
                                                                                 The board                                our people who are moving BP
                                        Refining and Marketing                                                            forward
                                        BP Alternative Energy                    Executive management
                                                                                                                            Technology
                                        Our brands                               Governance
                                                                                 The history of BP                        Find out how we're working to
                                        BP                                                                                meet energy and environmental
                                        Castrol                                  History of BP                            demands
                                        ARCO                                     History of Amoco
                                        Aral                                     History of ARCO/ampm                     Key reports
                                        ampm                                     History of Sohio                         View online or download some of
                                                                                                                          our key reports
                                        Wild Bean Cafe                           History of Castrol
                                                                                 History of Aral                            Annual Report and Form 20-F
                                                                                 Further information                        Statistical Review of World
                                                                                                                          Energy 2011
                                                                                                                          Detailed analysis of the world's
                                                                                                                          energy markets



                                                                                                                                                   back to top

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